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         In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 19-1393V
                                     Filed: September 21, 2020
                                           UNPUBLISHED



    LINDA JOY DAVIS,
                                                                Petitioner’s Motion for a Decision
                         Petitioner,                            Dismissing her Petition; Shoulder
    v.                                                          Injury related to Vaccine
                                                                Administration (“SIRVA”);
    SECRETARY OF HEALTH AND                                     Pneumococcal Vaccination;
    HUMAN SERVICES,                                             insufficient Proof of Causation;
                                                                Vaccine Act Entitlement; Denial
                         Respondent.                            Without Hearing; Special Processing
                                                                Unite (“SPU”)


John Robert Howie, Howie Law, PC, Dallas, TX, for petitioner.

Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                                 DECISION DISMISSING PETITION 1

Corcoran, Chief Special Master:

       On September 11, 2019, Linda Joy Davis filed a petition for compensation under
the National Vaccine Injury Compensation Program (“the Program”), 42 U.S.C. §300aa-
10, et seq. 2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury
related to vaccine administration (“SIRVA”) after receiving a Prevnar-13 pneumococcal
vaccination on September 22, 2016. Petition at 1.



1
  Because this Decision contains a reasoned explanation for the action in this case, it will be posted on the
United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002, Pub. L.
No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). In
accordance with Vaccine Rule 18(b), petitioners have 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, that material will be removed from public
access.


2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On August 31, 2020, Petitioner moved for a decision dismissing the petition,
specifically indicating she no longer wants to pursue her claim. ECF No. 21. Petitioner
explained that she had been diagnosed with lung cancer, and that she wished to “focus
on her lung cancer treatment and not worry further about her SIRVA claim.” Id. at 1.
Further, Petitioner qualified for Medicaid and does not want to jeopardize her Medicaid
status with any recovery related to her vaccine injury. Id. Petitioner “understands that a
decision by the Chief Special Master dismissing her petition will result in a judgment
against her. [She] has been advised that such a judgment will end all of her rights in the
Vaccine Program.” Id. at 2. The Motion further stated that Respondent “reserves the
right, pursuant to 42 U.S.C. § 300aa-15(e), to question the good faith and reasonable
basis of her claim and to oppose, if appropriate, the application for costs.” Respondent
otherwise does not oppose this motion.

       To receive compensation under the Program, petitioner must prove either 1) that
he suffered a “Table Injury” – i.e., an injury falling within the Vaccine Injury Table –
corresponding to one of his vaccinations, or 2) that he suffered an injury that was actually
caused by a vaccine. See §§ 13(a)(1)(A) and 11(c)(1). Examination of the record,
however, does not disclose that petitioner suffered a “Table Injury.” Further, the record
does not contain a medical expert’s opinion or any other persuasive evidence indicating
that petitioner’s alleged injury was vaccine-caused.

       Under the Vaccine Act, a petitioner may not be awarded compensation based on
the petitioner’s claims alone. Rather, the petition must be supported by either the medical
records or by a medical opinion. Section 13(a)(1). In this case, the record does not contain
medical records or a medical opinion sufficient to demonstrate that the vaccinee was
injured by a vaccine. For these reasons, in accordance with Section 12(d)(3)(A),
petitioner’s claim for compensation is denied and this case is dismissed for
insufficient proof. The Clerk shall enter judgment accordingly. 3



IT IS SO ORDERED.

                                                          s/Brian H. Corcoran
                                                          Brian H. Corcoran
                                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
